            Case 1:10-cr-00251-JRH-BKE Document 914 Filed 12/09/14 Page 1 of 1


                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE       SOUTHERN DISTRICT OF GEORGIA
                                                AUGUSTA DIVISION




UNITED STATES         OF AMERICA



                v.                                                           CR   110-251



GREGORY    VALENTINO          IVEY




                                                   ORDER




        Defendant       has     filed       a   motion     for       reduction        of    sentence    under       18


U.S.C.    § 3582(c)(2)          on the basis that Amendment 782 to the United States

Sentencing       Guidelines           has       revised        the   guidelines            applicable       to    drug

trafficking          offenses.         Even       though Amendment            782 became            effective       on

November    1,        2014,    no     defendant      may        be    released        on    the    basis     of    the

retroactive amendment before November 1,                             2015.    See U.S.S.G.           Amend.       788.

Thus,     the        Court     will    undertake           a     review      of    cases          involving       drug

trafficking offenses in due course.                                  If Defendant is entitled to a

sentence     reduction          as     a    result        of    amendments        to        the    United     States

Sentencing Guidelines, the Court will make such a reduction sua sponte.

Accordingly, Defendant's motion (doc. no. 913) is DEFERRED.1
        ORDER ENTERED at Augusta,                    Georgia,         this        /          day of December,

2014.




                                                   HONORABLE J.         RANDAL HALL
                                                               'STATES DISTRICT JUDGE
                                                   SOUTHERN DISTRICT OF GEORGIA



        The Clerk is directed to terminate the motion for administrative purposes
